













NUMBER 13-97-00556-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


______________________________________________________________

	

ROY TURCOTTE AND TOY TURCOTTE, 	Appellants,


v.



KAREN TURCOTTE,	Appellee. 

_____________________________________________________________


On appeal from the 103rd District Court of Cameron County, Texas.


______________________________________________________________


MEMORANDUM OPINION


	

Before Justices Yañez, Rodriguez, and Benavides


Memorandum Opinion Per Curiam


	This appeal was abated by this Court on September 11, 1997, due to the
bankruptcy of one of the parties to this appeal.   See 11 U.S.C. § 362; see generally Tex.
R. App. P. 8.  Since the abatement there has been no activity in this appeal.  On March 5,
2009, the Court ordered the parties to file an advisory regarding the status of the appeal
and, if applicable, a motion to reinstate the appeal or a motion to dismiss the appeal.  The
order notified the parties that failure to respond to the order would result in reinstatement
and dismissal of the appeal for want of prosecution.  

	The parties have failed to respond.  Accordingly, we reinstate and dismiss the
appeal for want of prosecution.  See Tex. R. App. P. 42.3(b).


								PER CURIAM


Memorandum Opinion delivered and filed this

the 30th day of April, 2009. 





	




	


